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Case 1: 04- -C\/- -01135- .]DT- STA Document 30 Filed 07/05/05 Page<j¢/<of 2 F§:je|D 17

 

IN THE UNiTED STATES DISTRICT CoURT ‘f”f? ` `;;?;_n
FoR THE WESTERN DISTRICT oF TENNESSEE 5 ,/»;a,
EASTERN DIVISION »~ f 39

EVANS STURD]VANT )
)
Plaintiff, )

) CIVIL ACTION No: 04-1135-T/An
v. )
)
PiCrSWEET FRoZEN FOODS )
)
Defendant. )

ORDER GRANTING M()TION FOR LEAVE
TO FILE REPLY BRIEF BY DEFENDANT

Considering the Motion for Leave to File a Reply Brief submitted by Defendant related to
its Motion for Sumrnary ludginent and the record as a whole, and finding that Motion to be well
_ taken“:-
ilT IS ORDERED, ADJUDGED AND DECREED that Defendant S Motion is granted

and the proposed Repfy Brief a tached to Defendant’ s Motion is hereby filed
§§:?/()05.

':This the 2 J:day of

 

MEMP|'IIS:]53539.1

This document entered on the docket sheet In compliance -~\
with nme 58 and,'or 79 (a) FHCP on ' 0 175 gap

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Honorable .l ames Todd
US DlSTRlCT COURT

